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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION


UNITED STATES OF AMERICA,                 )       CASE NO. 1:11CR91-28
                                          )
                      PLAINTIFF,          )       JUDGE SARA LIOI
                                          )
vs.                                       )
                                          )       ORDER
TAQUELLA HOSKIN,                          )
                                          )
                                          )
                     DEFENDANT.           )

              This matter is before the Court upon Magistrate Judge Kenneth S.

McHargh's Report and Recommendation that the Court ACCEPT Defendant Taquella

Hoskin's ("Defendant") plea of guilty and enter a finding of guilty against Defendant.

(Doc. No. 325.)

              On March 8, 2011, the government filed an Indictment against Defendant.

(Doc. No. 1.) On May 9, 2011, this Court issued an order assigning this case to

Magistrate Judge McHargh for the purpose of receiving Defendant's guilty plea. (Doc.

No. 250.)

              On July 8, 2011, a hearing was held in which Defendant entered a plea of

guilty to Count 1 of the Indictment, charging her with conspiracy to distribute less than

500 grams of cocaine and five or more grams but less than 50 grams of cocaine base

(crack), in violation of 21 U.S.C. Section 846. Magistrate Judge McHargh received

Defendant's guilty plea and issued a Report and Recommendation ("R&R")

recommending that this Court accept the plea and enter a finding of guilty. (Doc. No.
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325.)

                Neither party objected to the Magistrate Judge's R&R in the fourteen days

after it was issued.

                Upon de novo review of the record, the Magistrate Judge's R&R is

ADOPTED. Specifically, the Court finds as follows: that the defendant is competent to

enter a plea, that she understands her constitutional rights, that she is aware of the

consequences of entering a plea, and that there is an adequate factual basis for the plea.

The Court further finds that the plea was entered knowingly, intelligently, and

voluntarily. Accordingly, the Defendant's plea of guilty is APPROVED.

                Therefore, the Defendant is adjudged guilty of Count 1 in violation of 21

U.S.C. Section 846. The sentencing will be held on October 25, 2011 at 10:30 a.m.

                IT IS SO ORDERED.



Dated: September 19, 2011
                                              HONORABLE SARA LIOI
                                              UNITED STATES DISTRICT JUDGE
